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OAO 245B      (Rev. 09/08) Judgment in a Criminal Case
              Sheet 1



                                          UNITED STATES DISTRICT COURT
                      NORTHERN                                     District of                              OKLAHOMA
          UNITED STATES OF AMERICA                                         JUDGMENT IN A CRIMINAL CASE
                              V.

     CLINT WESLEY MENZO LAWRENCE                                           Case Number:                     11-CR-159-002-CVE
                                                                           USM Number:                      11801-062

                                                                           Walter Dewey Haskins, III
                                                                           Defendant’s Attorney
THE DEFENDANT:
[x] pleaded guilty to count          One of the Indictment
[] pleaded nolo contendere to count(s)
   which was accepted by the court.
[] was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                    Nature of Offense                                                        Offense Ended                Count
21 U.S.C. §§ 846,                  Conspiracy to Possess With the Intent to Distribute 500 Grams or            9/21/11                     1
841(a)(1) and                      More of Methamphetamine
(b)(1)(A)(viii)




       The defendant is sentenced as provided in pages 2 through                  6       of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
[] The defendant has been found not guilty on count(s)
[] Count(s)                                              []   is   []   are dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the Court and United States Attorney of material changes in economic circumstances.

                                                                           June 26, 2012
                                                                           Date of Imposition of Judgment




                                                                           Signature of Judge




                                                                           The Honorable Claire V. Eagan, U.S. District Judge
                                                                           Name and Title of Judge


                                                                           June 26, 2012
                                                                           Date
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                Sheet 2 — Imprisonment

                                                                                                              Judgment — Page    2       of   6
DEFENDANT:                         Clint Wesley Menzo Lawrence
CASE NUMBER:                       11-CR-159-002-CVE


                                                                      IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:    151 months.




[x]       The court makes the following recommendations to the Bureau of Prisons:
          The Court recommends that the defendant be placed in a facility where he can participate in the Bureau of Prisons’ Residential Drug
          Abuse Treatment Program. The Court recommends that the Bureau of Prisons afford the defendant the opportunity to attend any and
          all parenting classes, vocational training, and educational opportunities. Additionally, the Court recommends that the Bureau of Prisons
          designate a facility as close to Tulsa, Oklahoma as possible.

[x]       The defendant is remanded to the custody of the United States Marshal.


 []       The defendant shall surrender to the United States Marshal for this district:
           []      at                                    []    a.m.    []    p.m.    on                                              .
           []        as notified by the United States Marshal.

 []       The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           []      before 12 noon on                                                 .
           []        as notified by the United States Marshal.
           []        as notified by the Probation or Pretrial Services Office.

                                                                            RETURN
I have executed this judgment as follows:




          Defendant delivered on                                                                   to

at                                                            , with a certified copy of this judgment.



                                                                                                          UNITED STATES MARSHAL


                                                                                    By
                                                                                                    DEPUTY UNITED STATES MARSHAL
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               Sheet 3 — Supervised Release
                                                                                                           Judgment—Page      3      of       6
 DEFENDANT:                     Clint Wesley Menzo Lawrence
 CASE NUMBER:                   11-CR-159-002-CVE
                                                         SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term of: Five years.

 The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the custody
 of the Bureau of Prisons.
 The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
 substance and submit to one drug test within 15 days of release on supervised release and at least two periodic drug tests within 120 days for
 use of a controlled substance.
     []   The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
          future substance abuse, but authority to administer drug testing for cause is retained. (Check, if applicable.)
 [x]      The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
 [x]      The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
     []   The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
          as directed by the probation officer, the Bureau of Prison, or any state sex offender registration agency in which he or she resides,
          works, or is a student, or was convicted of a qualifying offense. (Check, if applicable.)
     []   The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
         If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
 Schedule of Payments sheet of this judgment.
           The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
 on the attached page.
                                              STANDARD CONDITIONS OF SUPERVISION
1.          The defendant shall not leave the judicial district or other specified geographic area without the permission of the court or probation
            officer.
2.          The defendant shall report to the probation officer as directed by the court or probation officer and shall submit a truthful and complete
            written report within the first five days of each month.
3.          The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer.
4.          The defendant shall support the defendant’s dependents and meet other family responsibilities (including, but not limited to, complying
            with the terms of any court order or administrative process pursuant to the law of a state, the District of Columbia, or any other
            possession or territory of the United States requiring payments by the defendant for the support and maintenance of any child or of a
            child and the parent with whom the child is living).
5.          The defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training, or other
            acceptable reasons.
6.          The defendant shall notify the probation officer at least ten days prior to any change of residence or employment.
7.          The defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
            substance, or any paraphernalia related to any controlled substance, except as prescribed by a physician.
8.          The defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered, or other
            places specified by the court.
9.          The defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person convicted of a
            felony unless granted permission to do so by the probation officer.
10.         The defendant shall permit a probation officer to visit the defendant at any time at home or elsewhere and shall permit confiscation of
            any contraband observed in plain view by the probation officer.
11.         The defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer.
12.         The defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
            permission of the court.
13.         As directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal
            record or personal history or characteristics, and shall permit the probation officer to make such notifications and to confirm the
            defendant’s compliance with such notification requirement (any objection to such notification shall be decided by the district court).
14.         The defendant shall pay the special assessment imposed or adhere to a court-ordered installment schedule for the payment of the
            special assessment.
15.         The defendant shall notify the probation officer of any material change in the defendant’s economic circumstances that might affect the
            defendant’s ability to pay any unpaid amount of restitution, fines, or special assessments.
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            Sheet 3C — Supervised Release
                                                                                                          Judgment—Page       4     of         6
 DEFENDANT:                  Clint Wesley Menzo Lawrence
 CASE NUMBER:                11-CR-159-002-CVE
                                       SPECIAL CONDITIONS OF SUPERVISION

1.     The defendant shall submit his person, residence, office or vehicle to a search, conducted by the United States Probation Officer at a
       reasonable time and in a reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of
       release; failure to submit to a search may be grounds for revocation; the defendant shall warn any other residents that the premises may
       be subject to searches pursuant to this condition.
2.     The defendant shall successfully participate in a program of testing and treatment, to include inpatient treatment, for drug and alcohol abuse,
       at a treatment facility and on a schedule determined by the probation officer. The defendant shall abide by the policies and procedures of
       the testing and treatment program to include directions that the defendant undergo urinalysis or other types of drug testing consisting of
       no more than eight tests per month if contemplated as part of the testing and treatment program. The defendant shall waive any right of
       confidentiality in any records for drug and alcohol treatment to allow the probation officer to review the course of testing and treatment
       and progress with the treatment provider.
3.     The defendant shall participate in a program of mental health treatment, to include inpatient, with a treatment provider and on a schedule
       approved by the probation officer. The defendant shall waive any right of confidentiality in any records for mental health treatment to allow
       the probation officer to review the course of treatment and progress with the treatment provider.
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             Sheet 5 — Criminal Monetary Penalties

                                                                                                                                       Judgment — Page       5        of          6
DEFENDANT:                              Clint Wesley Menzo Lawrence
CASE NUMBER:                            11-CR-159-002-CVE
                                                      CRIMINAL MONETARY PENALTIES
        The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                          Assessment                                                                Fine                                     Restitution

TOTALS                $ 100                                                                   $ N/A                                       $ N/A
 []     The determination of restitution is deferred until                                        . An Amended Judgment in a Criminal Case (AO 245C) will be
        entered after such determination.

 []     The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

        If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in the priority order or percentage
        payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid before the United States is paid.

Name of Payee                                          Total Loss*                                           Restitution Ordered                         Priority or Percentage




TOTALS                                     $                                       0               $                               0



[]    Restitution amount ordered pursuant to plea agreement $


[]    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).


[]    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

       []    the interest requirement is waived for the                  []        fine      []        restitution.

       []    the interest requirement for the                []   fine        []       restitution is modified as follows:




* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after September 13, 1994, but before
April 23, 1996.
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             Sheet 6 — Schedule of Payments

                                                                                                                       Judgment — Page     6   of      6
DEFENDANT:                    Clint Wesley Menzo Lawrence
CASE NUMBER:                  11-CR-159-002-CVE
                                                         SCHEDULE OF PAYMENTS

 Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties are due as follows:

 A        [x] Lump sum payment of $           100                  due immediately, balance due

               []   not later than                                      , or
               []   in accordance with        []    C,   []   D,   []          E, or        []   F below; or

 B        [] Payment to begin immediately (may be combined with                        []   C,     []   D, or   []   F below); or

 C        [] Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                         (e.g., months or years), to commence                    (e.g., 30 or 60 days) after the date of this judgment; or

 D        [] Payment in equal                     (e.g., weekly, monthly, quarterly) installments of $                    over a period of
                          (e.g., months or years), to commence                    (e.g., 30 or 60 days) after release from imprisonment to a
             term of supervision; or

 E        [] Payment during the term of supervised release will commence within                   (e.g., 30 or 60 days) after release from
             imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

 F        [] Special instructions regarding the payment of criminal monetary penalties:




 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
 imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financial
 Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

  []   Joint and Several

       Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
       and corresponding payee, if appropriate.




  []   The defendant shall pay the cost of prosecution.
  []   The defendant shall pay the following court cost(s):
  []   The defendant shall forfeit the defendant’s interest in the following property to the United States:


 Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
 (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
